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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 MITCHELL RYAN,                             §
                                            §
      Plaintiff,                            §
                                            §
 v.                                         §
                                            §      Civil Action No. 4:21-cv-01075-P
 GRAPEVINE-COLLEYVILLE                      §
 INDEPENDENT SCHOOL                         §
 DISTRICT, et al.,                          §
                                            §
      Defendants.                           §

                                         ORDER

        Before the Court is Plaintiff’s Unopposed Motion to Proceed Without Local

Counsel. ECF No. 10. Having considered the Motion, the Court finds that it should be

GRANTED in part. The Court therefore GRANTS leave to Plaintiff’s counsel to proceed

in the September 24, 2021 hearing without local counsel.

        Accordingly, Plaintiff is ORDERED to file the entry of appearance of local counsel

satisfying the requirements of Local Rule 83.10(a) on or before September 30, 2021.

Failure to comply with this Order shall result in the imposition of sanctions and/or the

dismissal of this case without prejudice and without further notice.

        SO ORDERED on this 23rd day of September, 2021.




                              Mark T. Pittman
                              UNITED STATES DISTRICT JUDGE
